Case 5:09-cr-00028-MFU        Document 218 Filed 01/06/17          Page 1 of 2 Pageid#:
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                                                                                 ATROANOKE,h2A cour l
                                                                                        FILED

                  IN TH E U N ITED STATE S D IST RICT COU RT                      JAN 2s 2017
                  FO R TH E W E STE RN D IST RICT O F W RG IN IA             BKJULIA . '        c
                          H ARRISON BU RG D IW SIO N                               EP    /          '
U N ITED STATES O F AM ERICA,

V.                                           Case N o.5:09-cr-00028

TIM OT IW W AYN E PM N TE R,                 By: M ichaelF.U rbansld
     Petitioner.                                    U nited StatesDistrictJudge
                                         O RD ER

       Forthereasonssetforth in the accom panying M em orandllm O pinion entered this

day,petitionerTimothyW aynePainter's28U.S.C.j2255motion,ECF No.199,is
GRANTED.ltisORDERED thattheludgmententeredon M arch 25,2010,ECF No.
144,isVA CATE D .

       Painterexpzesslyw aived any rightto be resentenced in person and to allocute to the

cotztt,and he hasconsented to being resentenced in hisabsence.ECF N o.199.Bot.h parties

have represented thatno victim swish to attend Painter'sresentencing and no m otionswill

bem ade to am end the conditionsofPainter'sfiveyearterm ofsuperdsed release.E CF N os.

213,214.A ccordingly,the courtw111nothold aresentencing hearing.

      Thecotzrthereby O R D ERS thatPainterisresentenced to atotalperiod of

incarceration of139 m onths,com pzised of79 m onthson CountO neand 79 m onthson

CountSix to run concuzrently,and 60 m onthson CountFoutto nm consecutively.AIIother

provisionsofPainter'spreviousjudgmentremain intact.TheClerkisDIRRCTED to
preparean AmendedJudgmenttoreflectthèsentenceimposed bytlaisOrder.Painter
SH AT,L retain creclitforalltim e already served.
Case 5:09-cr-00028-MFU   Document 218 Filed 01/06/17   Page 2 of 2   Pageid#:
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                                  M ichaelF.Urbanski
                                  UnitedStatesbistjictludge




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